            Case 1:19-cv-11235-LTS Document 70 Filed 12/17/20 Page 1 of 1


                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


WRIT OF HABEAS CORPUS
TO THE MARSHAL FOR THE DISTRICT OF M ASSACHUSETTS, or any of his deputies,

and to: Suffolk County House of Correction
        20 Bradston Street
        Boston, MA 02118


YOU ARE COM M ANDED to have the body of Shawn T. McClinton #1801165 now in your custody, before the

United States District Court for the District of Massachusetts, in Remoter Proceeding on December 22, 2020 , at

11:00AM . for the purpose of a Status Conference.

in the case of Shawn T. McClinton V. Boston Police Department

CV Number 19-cv-11235-LTS

         And you are to retain the body of said of Shawn T. McClinton #1801165 while before said Court upon

said day and upon such other days thereafter as his attendance before said Court shall be necessary, and as soon as

may be thereafter to return said of Shawn T. McClinton #1801165 to the institution from which he was taken,

under safe and secure conduct, to be there imprisoned as if he had not been brought therefrom for the purpose

aforesaid. And have you then and there this W rit with your doings herein.

Dated this 17th   day of December 2020 .




/S/ LEO T. SOROKIN
UNITED STATES MAGISTRATE JUDGE
                                                               ROBERT M FARRELL
                                                               CLERK OF COURT


                                                               By: /s/ Maria Simeone
                                                               Courtroom Deputy Clerk
